   Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 1 of 13 PageID #:340



                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS


                                                  )
JAMES C. SNOW (N-50072),                          )        Case No. 1:17-cv-04015
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )        Honorable John Robert Blakey
                                                  )
GHALIAH OBAISI, APPOINTED EXECU-                  )
TOR OF THE ESTATE OF SALEH OBAISI,                )
CHARLES OKEZI, CATALINO BAUTISTA,                 )        JURY TRIAL DEMANDED
WEXFORD HEALTH SOURCES, INC.,                     )
RANDY PFISTER, and WALTER NICHOL-                 )
SON

               Defendants.


                             SECOND AMENDED COMPLAINT

       Plaintiff James C. Snow is an inmate at Stateville Correctional Center in Joliet, Illinois

(“Stateville”) who has been suffering from painful and worsening medical conditions for the past

several years. Though healthcare providers and the Warden at Stateville know of Mr. Snow’s

conditions and his need for treatment, they have systematically minimized, downplayed, or ig-

nored the risk of failing to provide Mr. Snow with medical care. By failing to provide Mr. Snow

with the medical care he urgently needs, the Stateville medical and administrative staff have

been and remain deliberately indifferent to Mr. Snow’s plight. Defendants’ response to the fol-

lowing three medical conditions—although referred to individually—collectively demonstrates a

pattern or practice on the part of the Defendants that violates Mr. Snow’s constitutional rights.

       First, since at least March 2016, Mr. Snow has been suffering from chronic and gravitat-

ing pain, which has spread from his lower abdomen to his groin, lower back, and tailbone area,

and which has caused painful and persistent gastrointestinal issues. Second, Mr. Snow is afflict-
   Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 2 of 13 PageID #:341



ed with numerous painful nodules on his arms, legs, and torso, which have been worsening since

at least 2012 and keep him awake at night. Finally, Mr. Snow has experienced pain while urinat-

ing since at least 2010.

       During this time, Mr. Snow has frequently complained to Defendants about his ailments,

but Defendants have ignored Mr. Snow’s pleas for help and have done little to nothing to diag-

nose and treat Mr. Snow’s conditions. Meanwhile, his condition has only worsened. As of now,

Mr. Snow has not had adequate diagnostic exams to determine the cause of—much less provide

adequate care for—the gravitating pain and gastrointestinal issues, the painful nodules, and the

urinary issues. By sitting by idly for years and ignoring Mr. Snow’s frequent complaints and

denying him adequate medical care, Defendants have violated Mr. Snow’s rights under the

Eighth Amendment. This suit seeks an injunction requiring Defendants to provide constitution-

ally adequate medical care and monetary damages.

                                 JURISDICTION AND VENUE

       1.      Under 42 U.S.C. § 1983, Mr. Snow brings this action to redress the deprivation of

his constitutional rights by defendants acting under the color of law. This Court has original ju-

risdiction to address the violations of Mr. Snow’s constitutional rights under federal law pursuant

to 28 U.S.C. §§ 1331 and 1343(a).

       2.      Under 28 U.S.C. § 1391(b), venue is proper in the Northern District of Illinois be-

cause the individual defendants, upon information and belief, reside here. Additionally, all

events giving rise to these claims occurred in the Northern District of Illinois.




                                                  2
   Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 3 of 13 PageID #:342



                                            PARTIES

       3.      At all relevant times, Plaintiff James C. Snow was a citizen of the State of Illinois

incarcerated at Stateville, an Illinois Department of Corrections (“IDOC”) facility located at

16830 S. Broadway St., Joliet, IL 60434.

       4.      Defendant Wexford Health Sources, Inc. (“Wexford”) is a corporation transacting

business in Illinois and headquartered in Pennsylvania. Under a contract with the State of Illi-

nois, Wexford is a healthcare provider for IDOC prisons throughout Illinois. At all relevant

times, Wexford was responsible for the implementation, oversight, and supervision of medical

policies and practices at Stateville. As an agent of IDOC, Wexford was acting under color of

law through its lawful agents, including the Defendants Dr. Obaisi, Dr. Okezi, and Dr. Bautista,

and other yet unknown healthcare employees at Stateville.

       5.      Defendant Dr. Saleh Obaisi was the Medical Director at Stateville, and an em-

ployee of, and final policymaker for, Wexford. In his role as Medical Director, Dr. Obaisi was

responsible for implementing, overseeing, and supervising all medical care that Wexford provid-

ed at Stateville and for ensuring inmates received adequate medical care. Dr. Obaisi is a defend-

ant in his individual capacity. At all times relevant here, until his death, Dr. Obaisi was acting

under color of law and within the scope of his employment. Dr. Obaisi died in December 2017

while this suit was pending. On April 5, 2018, the Court substituted Ghaliah Obaisi, the Inde-

pendent Executor of Dr. Obaisi’s estate, in place of Dr. Obaisi as a defendant in this lawsuit.

       6.      Defendant Dr. Charles Okezi is a physician licensed to practice medicine in Illi-

nois and is the Acting Medical Director at Stateville, and an employee of, and final policymaker

for, Wexford. In his role as Medical Director, Dr. Okezi is responsible for implementing, over-

seeing, and supervising all medical care that Wexford provides at Stateville and for ensuring in-




                                                 3
   Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 4 of 13 PageID #:343



mates received adequate medical care. At certain relevant times, Dr. Okezi was acting under

color of law and within the scope of his employment. Dr. Okezi is a defendant in his individual

capacity.

       7.      Defendant Dr. Catalino Bautista is a physician at Stateville, and an employee of,

and final policymaker for, Wexford. In his role as physician, Dr. Bautista is responsible for im-

plementing medical care that Wexford provides at Stateville and for ensuring inmates received

adequate medical care. At certain relevant times, Dr. Bautista was acting under color of law and

within the scope of his employment. Dr. Bautista is a defendant in his individual capacity.

       8.      Defendant Randy Pfister was the Warden at Stateville and an employee of IDOC.

In that capacity, Warden Pfister oversaw all day-to-day operations at Stateville, including the

processes by which inmates received all of their medical care. Warden Pfister is a defendant in

his individual and official capacity. At certain relevant times, Warden Pfister was acting under

color of law and within the scope of his employment.

       9.      Defendant Walter Nicholson is the Acting Warden at Stateville and an employee

of IDOC. Acting Warden Nicholson replaced Warden Pfister as the chief administrative officer

at Stateville on January 31, 2018. In that capacity, Acting Warden Nicholson oversees all day-

to-day operations at Stateville, including the processes by which inmates receive all of their med-

ical care. Acting Warden Nicholson is a defendant in his individual and official capacity. At

certain relevant times, Acting Warden Nicholson was acting under color of law and within the

scope of his employment.




                                                4
   Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 5 of 13 PageID #:344



                                         BACKGROUND

   I.         Defendants Disregard Mr. Snow’s Complaints of Severe, Gravitating Abdominal
              Pain

        10.      Mr. Snow has been experiencing ongoing and worsening abdominal pain since the

beginning of 2016. The abdominal pain started on Mr. Snow’s lower left side and has, over

time, gravitated to his lower right side and then to his groin, back, tail bone, and upper left side.

The pain is so severe that it has continuously kept Mr. Snow up at night. During the same time,

Mr. Snow has experienced irregular bowel movements, stomach cramps, and bloody stools. Mr.

Snow has battled frequent diarrhea for more than a year. Mr. Snow’s stomach has been swollen,

protruding, and bloated. These gastrointestinal issues are so disruptive to Mr. Snow’s daily life

that he often does not eat on days that he has visitors or meetings with counsel in order to avoid

having diarrhea.

        11.      Because of a history of cancer in Mr. Snow’s family, he became concerned early

on that the problem is serious. Since then, he has consistently and persistently requested medical

attention from Dr. Obaisi, Dr. Okezi, and Dr. Bautista (the “Wexford Doctors”), as well as War-

den Pfister and Acting Warden Nicholson (the “Stateville Wardens”) and other Wexford staff, to

diagnose the cause of and reduce or eliminate the pain.

        12.      Specifically, Mr. Snow has discussed his gravitating abdominal pain with the

Wexford Doctors and their direct subordinates at Stateville’s Health Care Unit in appointments

on April 20, 2016, June 16, 2016, August 1, 2016, August 18, 2017, and May 21, 2018.

        13.      At those appointments, Mr. Snow told the Wexford Doctors, and other medical

staff that he is experiencing pain in his lower abdomen and that the pain is gravitating and wors-

ening. Mr. Snow also told them about his frequent diarrhea and bloody stools.

        14.      Mr. Snow also sent Dr. Obaisi a letter dated March 15, 2016 complaining of pain.



                                                 5
   Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 6 of 13 PageID #:345



         15.      When Mr. Snow complained of his abdominal pain directly to Dr. Obaisi, Dr.

Obaisi insinuated that Mr. Snow’s ailments are psychological, not physical, and prescribed a

round of psychotropic drugs to Mr. Snow.

         16.      The Stateville Wardens are also aware of Mr. Snow’s severe and gravitating ab-

dominal pain because Mr. Snow filed emergency grievances detailing his abdominal pain on

June 18, 2016, August 24, 2016, September 30, 2016, November 1, 2016, August 18, 2017, and

October 24, 2017.

         17.      On information and belief, the Stateville Wardens reviewed Mr. Snow’s emergen-

cy grievances in accordance with the usual practice at Stateville of referring emergency griev-

ances to the Wardens. The Stateville Wardens denied Mr. Snow’s grievances.

         18.      In addition, Mr. Snow sent Warden Pfister a letter on October 11, 2016 noting

that his abdominal pain has worsened and pleading for help. Warden Pfister did not reply to Mr.

Snow’s letter.

         19.      Thus, the Stateville Wardens, the Wexford Doctors, and other Wexford personnel

refused to properly treat Mr. Snow’s gravitating pain, or ensure that he received access to proper

medical care, including diagnostic exams to determine the source of the pain.

         20.      The Stateville Wardens’, Wexford’s, and the Wexford Doctors’ inattention and

indifference to Mr. Snow’s deteriorating physical condition have caused Mr. Snow to suffer

needlessly.

   II.         Defendants Disregard Mr. Snow’s Complaints of Painful Nodules

         21.      Mr. Snow has had large, painful nodules (or lumps) on his arms since about 2011.

Mr. Snow’s nodules present as prominently raised bumps under his skin.




                                                  6
   Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 7 of 13 PageID #:346



       22.     Since 2011, the lumps have spread all over his body, including more on his arms,

legs, and torso. The lumps are clearly visible, painful to the touch, cause Mr. Snow pain when

he bends his arms or legs, and move freely under his skin. The nodules are painful enough to

keep Mr. Snow awake at night.

       23.     In June 2012, nearly four months after Mr. Snow first complained of the painful

nodules, Mr. Snow went to UIC Medical Center to undergo a diagnostic exam and for a possible

biopsy of the nodules.

       24.     The UIC specialist examined only the nodules on Mr. Snow’s arms; the specialist

did not examine the painful nodules on Mr. Snow’s legs and torso.

       25.     After examination, Mr. Snow’s nodules were diagnosed as lipomas, benign slow-

growing masses, which although not immediately dangerous, nevertheless cause Mr. Snow a

great deal of pain and discomfort.

       26.     The Wexford Doctors and Stateville Wardens have responded with indifference to

Mr. Snow’s complaints of pain arising from the nodules.

       27.     Specifically, Mr. Snow has complained to the Wexford Doctors and their staff on

numerous occasions that the nodules cause him pain, including as recently as on July 17, 2018.

During at least one appointment, when Mr. Snow complained about the pain from his nodules,

Dr. Bautista told him that he would not address the pain because the appointment had been made

in connection with one of Mr. Snow’s other medical conditions.

       28.     Instead of referring Mr. Snow to have the masses surgically removed—which

would make the pain and discomfort disappear altogether—medical personnel at Stateville under

the Wexford Doctors’ supervision have merely given Mr. Snow Ibuprofen, which has neither

alleviated the pain nor caused the nodules to decrease in size or number.




                                                7
   Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 8 of 13 PageID #:347



          29.      Likewise, the Stateville Wardens have personal knowledge of the painful nodules

on Mr. Snow’s body because Mr. Snow submitted grievances to the Stateville Wardens on No-

vember 25, 2016 and December 26, 2016 specifically referencing the painful nodules. Mr. Snow

submitted these grievances shortly after he received a complete copy of his medical file.

          30.      Around the same time, Mr. Snow spoke to Warden Pfister in person about—and

showed Warden Pfister—the painful nodules. Although Warden Pfister acknowledged Mr.

Snow’s concerns and stated that he would follow up with Mr. Snow on this issue, Mr. Snow has

yet to receive a response from Warden Pfister or his successor, Acting Warden Nicholson.

          31.      The Wexford Doctors and Stateville Wardens have otherwise ignored Mr. Snow’s

requests for help and his reports that the Ibuprofen is ineffective to address his persistent pain.

   III.         Defendants Disregard Mr. Snow’s Complaints of Urological Problems

          32.      Around 2010, Mr. Snow began experiencing trouble urinating. Mr. Snow de-

scribes the problem as simultaneously “needing to go and not being able to.”

          33.      Mr. Snow visited the urology clinic at UIC Medical Center some time after he be-

gan experiencing these symptoms.

          34.      At that time, Mr. Snow received both Urinalysis (UA) and urine culture (UCx)

tests. UIC specialists recommended that Mr. Snow undergo additional testing for his urologic

issues in two to three months’ time.

          35.      The specialists’ orders were clearly outlined in the March 24, 2010 discharge

notes from UIC Medical Center.

          36.      In addition, Mr. Snow submitted grievances to the Stateville Wardens on Novem-

ber 25, 2016, December 26, 2016, and August 18, 2017 specifically referencing his urologic is-




                                                   8
   Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 9 of 13 PageID #:348



sues and the recommendations of the UIC specialists. Mr. Snow submitted these grievances

shortly after he received a complete copy of his medical file.

       37.     Around the same time, Mr. Snow spoke to Warden Pfister in person about his uro-

logic problems. Although Warden Pfister acknowledged Mr. Snow’s concerns and stated that he

would follow up with Mr. Snow on this issue, Mr. Snow has yet to receive a response from War-

den Pfister or Acting Warden Nicholson.

       38.     Despite knowing of the specialists’ order for follow-up testing, the Wexford Doc-

tors and the Stateville Wardens failed to implement the recommended course of action. Alt-

hough there have been periods of time when Mr. Snow has taken medication for the urological

issues, even on the maximum dose prescribed he has awoken five to seven times per night expe-

riencing urological issues. Mr. Snow has complained about these continuing issues, but the

Wexford Doctors and Stateville Wardens have not provided him with the follow-up testing rec-

ommended by the specialists.

       39.     To date, Mr. Snow has not received adequate care for his severe gravitating ab-

dominal pain, the painful nodules that spot his body, and his urological issues. This is directly

attributable to Defendants’ deliberate indifference to Mr. Snow’s objectively serious medical

needs. The Defendants’ actions have forced Mr. Snow to suffer unnecessary agonizing pain and

impairment with essential activities like sleeping.

                                          COUNT I
               Deliberate Indifference to Medical Needs (Eighth Amendment)
             (Against Defendants Obaisi, Okezi, Bautista, Pfister, and Nicholson)

       40.     Plaintiff incorporates paragraphs 1-39 of this Complaint as if fully restated here.

       41.     As described more fully above, Dr. Obaisi, the Medical Director at Stateville; Dr.

Okezi, the Acting Medical Director at Stateville; Dr. Bautista, a physician at Stateville; Warden




                                                 9
  Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 10 of 13 PageID #:349



Pfister, the chief administrative officer at Stateville, and Acting Warden Nicholson, the acting

chief administrative officer at Stateville, had notice of Mr. Snow’s medical needs and the seri-

ousness of his medical conditions, and knew the risk of harm to Mr. Snow if he did not receive

appropriate medical care. Likewise, the Wexford Doctors and Stateville Wardens knew of the

recommendations for follow-up from outside experts on Mr. Snow’s health issues.

       42.     Despite that knowledge, the Wexford Doctors and Stateville Wardens failed to

ensure Mr. Snow received proper medical care or access to medical care, in violation of the

Eighth Amendment to the United States Constitution, made applicable to the states by the Four-

teenth Amendment.

       43.     As a result of the Wexford Doctors’ and Stateville Wardens’ unjustified and un-

constitutional conduct, Mr. Snow experienced pain, suffering, emotional distress, and injury.

The Wexford Doctors and Stateville Wardens were deliberately indifferent to Mr. Snow’s objec-

tively serious medical needs, and their actions were undertaken intentionally, with malice, and/or

with reckless indifference to Mr. Snow’s rights.

       44.     Defendants Dr. Obaisi’s, Dr. Okezi’s, Dr. Bautista’s, Warden Pfister’s, and Act-

ing Warden Nicholson’s conduct was the proximate cause of Mr. Snow’s injuries.

       45.     At all relevant times, Defendants Dr. Obaisi, Dr. Okezi, Dr. Bautista, Warden

Pfister, and Acting Warden Nicholson were acting under color of law.

                                         COUNT II
               Deliberate Indifference to Medical Needs (Eighth Amendment)
                                (Against Defendant Wexford)

       46.     Plaintiff incorporates paragraphs 1-39 of this Complaint as if fully restated here.

       47.     At all times relevant here, Defendant Wexford contracted with the IDOC to pro-

vide healthcare to men housed at Stateville, including Mr. Snow. As the provider of healthcare




                                                10
  Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 11 of 13 PageID #:350



services to prisoners incarcerated at Stateville and other IDOC facilities, Wexford was responsi-

ble for the creation, implementation, oversight, and supervision of policies, practices, and proce-

dures regarding the provision of medical care to prisoners in IDOC custody.

       48.     Prior to the events giving rise to Mr. Snow’s Complaint, Defendant Wexford had

notice of widespread policies and practices by healthcare employees at Stateville under which

prisoners with serious medical needs, like Mr. Snow, were routinely denied medical care.

       49.     Specifically, it is common at Stateville to encounter prisoners with clear symp-

toms of serious medical needs who repeatedly request medical evaluation or treatment, and

whose requests are routinely delayed or completely ignored by healthcare and correctional em-

ployees. See Appendix A to Final Report of the Court Appointed Expert at 1–40, Lippert v.

Godinez, No. 10 C 4603 (N.D. Ill.).

       50.     Despite knowledge of these problematic policies and practices, Defendant Wex-

ford did nothing to ensure that prisoners at Stateville received adequate medical care and access

to medical care, thereby acting with deliberate indifference.

       51.     Specifically, there exist widespread policies or practices at Stateville pursuant to

which prisoners receive unconstitutionally inadequate healthcare, including policies and practic-

es pursuant to which:

       (1) healthcare personnel commonly fail to respond or respond inadequately to prisoners

       who have requested medical attention or medication, or asked to see a doctor;

       (2) healthcare personnel commonly fail to respond or respond inadequately to prisoners

       who exhibit obvious signs of a serious medical condition;

       (3) healthcare personnel commonly fail to perform adequate examinations of prisoners

       with a serious medical condition;




                                                11
  Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 12 of 13 PageID #:351



        (4) healthcare personnel commonly fail to review a prisoner’s pertinent medical records

        before, during, or after an examination or diagnosis of the prisoner;

        (5) healthcare personnel with inadequate training, qualifications, and experience are

        charged with the responsibility of screening and evaluating prisoner complaints and re-

        quests for medical care;

        (6) healthcare personnel fail to provide timely healthcare to prisoners;

        (7) healthcare personnel fail to respond adequately or timely to diagnostic testing which

        reveals a serious medical need;

        (8) healthcare personnel fail or refuse to arrange for prisoners to be treated in outside fa-

        cilities, even when an outside referral is necessary or proper; and

        (9) healthcare personnel fail or refuse to provide care or follow recommendations made

        by outside specialists.

        52.     These policies and practices—so widespread and well-settled as to constitute de

facto policy at Stateville—were perpetuated at Stateville because Defendant Wexford was delib-

erately indifferent to the problem. Through its indifference, Defendant Wexford has effectively

ratified the policies.

        53.     Defendant Wexford, and its employees or contractors acting pursuant to the fore-

going policies and practices in engaging in the misconduct described above, proximately caused

Mr. Snow’s injuries. To this day, Defendant Wexford refuses to provide Mr. Snow access to ad-

equate medical care and has failed to follow up on the recommendations from medical experts

who evaluated Mr. Snow, even though Mr. Snow has a clear medical need. Accordingly, Mr.

Snow seeks injunctive relief and damages to stop this continuing constitutional violation.




                                                 12
  Case: 1:17-cv-04015 Document #: 114 Filed: 03/13/19 Page 13 of 13 PageID #:352



                                          CONCLUSION

      For these reasons, Mr. Snow respectfully requests that this Court enter a judgment against

Defendants and award Mr. Snow:

      1. An injunction requiring Defendants to take Mr. Snow to outside specialists for diag-

          nosis and treatment of all of his medical ailments and to follow all orders and recom-

          mendations regarding continuing care given by those specialists;

      2. Compensatory and punitive damages in an amount to be determined;

      3. Attorneys’ fees, expenses, and costs; and

      4. Such other relief this Court deems just and proper.




Dated: March 13, 2019                                  Respectfully submitted,



                                                          /s/ Frederic J. Artwick
                                                       Frederic J. Artwick
                                                       One South Dearborn Street
                                                       Chicago, Illinois 60603
                                                       Telephone: + 1 312 853-7529

                                                       Bojan Manojlovic
                                                       Rebecca B. Shafer
                                                       SIDLEY AUSTIN LLP
                                                       One South Dearborn Street
                                                       Chicago, Illinois 60603
                                                       Telephone: +1 312 853-7000
                                                       Facsimile: +1 312 853-7036

                                                       Counsel for Plaintiff James C. Snow




                                              13
